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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TENNESSEE
                             EASTERN DIVISION
______________________________________________________________________________

BRYAN FARAJOLAH,                                )
                                                )
      Plaintiff,                                )
                                                )
      v.                                        )
                                                )     No. 1:20-cv-01277-STA-jay
VICTORY AUTOMOTIVE GROUP, INC.,                 )
JEFFREY CAPPO, KATIE DIGSBY, AND                )
CHASE CHANNELL                                  )
                                                )
      Defendants.                               )
______________________________________________________________________________

             ORDER ADOPTING MAGISTRATE JUDGE’S AMENDED
                      REPORT AND RECOMMENDATION
______________________________________________________________________________

        On November 22, 2021, this Court adopted the Magistrate Judge’s Report and

Recommendation, thereby granting Defendants’ Motion to Dismiss. (ECF No. 31.) However, the

Motion to Dismiss only addressed two of four Defendants. Plaintiff neglected to serve Defendants

Jeffrey Cappo and Katie Digsby. On December 1, 2021, the Magistrate Judge submitted an

Amended Report and Recommendation, proposing that the Court dismiss all Defendants sua

sponte. (ECF No. 32.) After reviewing the Amended Report and Recommendation, the Court

agrees with the conclusion of the Magistrate Judge that all Defendants should be dismissed. In

short, because Plaintiff failed to file his EEOC complaint against the Defendants within the

applicable ninety-day limitations period, he is without a remedy against any of the Defendants in

the instant matter. Therefore, this Court hereby adopts the Magistrate Judge’s Amended Report

and Recommendation and orders that all Defendants to this action be dismissed.

       IT IS SO ORDERED.
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                                   s/ S. Thomas Anderson
                                   S. THOMAS ANDERSON
                                   CHIEF UNITED STATES DISTRICT JUDGE

                                   Date: December 2, 2021.
